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                           United States Bankruptcy Court
                                       District of Connecticut
                                                                                                   Filed and Entered
                                                                                                       On Docket
                                                                                                    March 2, 2023


In re:
         Erica L. Garbatini                                                                  Case Number: 18−51587 jam
                                               Debtor*                                       Chapter: 7

         Alex E. Jones et al.
                                             Plaintiff(s)
         v.                                                                                  Adversary Proceeding
                                                                                             No.: 21−05009 jam
         Erica L. Garbatini
                                            Defendant(s)

                      NOTICE OF PROPOSED DISMISSAL OF ADVERSARY PROCEEDING

Pursuant to D.Conn.L.Civ.R. 41(a) and D.Conn.Bankr.L.R. 1001−1(b), notice of a proposed dismissal of this
adversary proceeding is hereby given because no action has been taken by the parties in the above referenced
adversary proceeding for six (6) months or within deadlines established by the Court. Unless action is taken within
twenty−one (21) days from the date of this notice, or no satisfactory explanation of why the adversary proceeding
should not be dismissed is provided, the adversary proceeding shall be dismissed.




Dated: March 2, 2023


                                                                                               Pietro Cicolini
                                                                                               Clerk of Court


United States Bankruptcy Court                                                       Tel. (203) 579−5808
District of Connecticut                                                              VCIS* (866) 222−8029
915 Lafayette Boulevard                                                              * Voice Case Information System
Bridgeport, CT 06604                                                                 http://www.ctb.uscourts.gov
                                                                                     Form DCLR41a.jsp − sr
*For the purposes of this notice, "Debtor" means "Debtors" where applicable.
